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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF ILLINOIS
                           EASTERN DIVISION
ABC CORPORATION I,                              )
ABC CORPORATION II,                             )
                                                )
                      Plaintiffs,               )
                                                )   Case No. 20-cv-4806
        v.                                      )
                                                )   Judge Thomas M. Durkin
THE PARTNERSHIPS AND                            )   Magistrate Judge Jeffrey Cole
UNINCORPORATED ASSOCIATIONS                     )
IDENTIFIED ON SCHEDULE A,                       )
et al.,                                         )
                                                )
                      Defendants.

                          PRELIMINARY INJUNCTION ORDER

        THIS CAUSE being before the Court on Plaintiffs Hangzhou Chic Intelligent Technology

Co. (“Chic”) and Unicorn Global Inc. (“Unicorn”) (collectively, “Plaintiffs”) Motion of Entry of

a Preliminary Injunction, and this Court having heard the arguments, weighed the evidence, and

provided each party a full and fair opportunity to be heard hereby GRANTS Plaintiffs’ Motion for

Entry of a Preliminary Injunction in its entirety against Gyroor (including the stores

gyroorboard.com,    and    gyroor.com),    Jiangyou-US, 1   Gyroshoes,    Fengchi-US,     HGSM,

Gaodeshang-US, and Urbanmax (“Gyroor Defendants”) 2, each of which operate e-commerce

stores under one or more seller aliases identified in the attached amended Exhibit A (Dkt. 447).



1 This order will be modified accordingly if the Court should grant Jiangyou-US’s pending motion
to dismiss for personal jurisdiction, R. 363. The Court notes that Jiangyou-US, Amazon Merchant
ID A2WDDE8MIQH0TE is already enjoined by the preliminary injunction entered November 24,
2020, R. 113, R. 101-14 (“Schedule A”), albeit with reference to a different Amazon Standard
Identification Number.
2
  Although one Gyroor Defendant—Gyroor-US—did not participate in these most recent
preliminary injunction proceedings, Gyroor-US is currently bound by the preliminary injunction
entered on November 24, 2020, and amended on December 23, 2020. See Dkts. 113, 147.
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       THIS COURT HEREBY FINDS that it has personal jurisdiction over the Gyroor

Defendants since the Gyroor Defendants directly target their business activities toward consumers

in the United States, including Illinois. Venue is also appropriate under 28 U.S.C. § 1391(c).

Specifically, Defendants have targeted sales to Illinois residents by setting up and operating e-

commerce stores that offer shipping to the United States, including Illinois, accept payment in U.S.

dollars, provide confirmation emails identifying the consumers’ addresses, including Illinois

addresses, and have sold products that directly and/or indirectly infringe on Plaintiffs’ United

States design patents (“Patents-in-Suit”) as shown in the chart below to residents of Illinois.

       The following table illustrates the figures in the D737,723 patent (“the ’D723 patent”).

   Patent                                     Claim                                    Issue Date
  Number                                                                               September
  D737,723                                                                               1, 2015




                                                 2
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 Patent                             Claim                            Issue Date
Number                                                               September
D737,723                                                               1, 2015




                                      3
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 Patent                                   Claim                                  Issue Date
Number                                                                           September
D737,723                                                                           1, 2015




    The following table illustrates the figures in the D738,256 (“the ’D256 patent”).

 Patent                                   Claim                                  Issue Date
Number                                                                           September
D738,256                                                                           8, 2015




                                             4
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 Patent                             Claim                            Issue Date
Number                                                               September
D738,256                                                               8, 2015




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 Patent                                   Claim                                  Issue Date
Number                                                                           September
D738,256                                                                           8, 2015




    The following table illustrates the figures in the D785,112 (“the ’D112 patent”).

 Patent                                   Claim                                  Issue Date
Number
D785,112                                                                          April 25,
                                                                                   2017




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  Patent                                  Claim                                  Issue Date
 Number




    The following table illustrates the figures in the D784,195 (“the ’D195 patent”).

 Patent                                   Claim                                  Issue Date
Number
D784,195                                                                          April 18,
                                                                                   2017




                                             7
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 Patent                             Claim                            Issue Date
Number




                                      8
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        THIS COURT FURTHER FINDS that issuing this Preliminary Injunction is warranted

under Federal of Civil Procedure 65. Argument and evidence submitted in support of this Motion

(Dkts. 384–388) and in support of Plaintiffs’ previously granted Motion for Entry of a Preliminary

Injunction (Dkts. 105–07) establish that Plaintiffs have demonstrated a likelihood of success on

the merits; that no remedy at law exists; and that Plaintiffs have suffered and will to suffer

irreparable harm if the injunction is not granted. Specifically, Plaintiffs have proved a prima facie

case of design patent infringement because (1) Plaintiffs are the lawful assignee of all rights, title

and interest in and to the Patents-in-Suit, (2) Gyroor Defendants make, use, offer for sale, sell,

and/or import into the United States for subsequent sale or use products that directly and/or

indirectly infringe the Patents-in-Suit, and (3) an ordinary observer would be deceived into

thinking the products sold by the Gyroor Defendants are the same as the products manufactured

and sold by Plaintiffs that utilize the Patents-in-Suit (“Plaintiffs’ Products”). Furthermore, the

Gyroor Defendants’ continued and unauthorized use of the Patents-in-Suit irreparably harms

Plaintiffs through loss of customer goodwill, reputational harm, and Plaintiffs’ ability to exploit

the Patents-in-Suit. Monetary damages fail to address such damage and, therefore, Plaintiffs have

no adequate remedy at law. Moreover, the public interest is served by entry of this Preliminary

Injunction to dispel the public confusion created by Defendants’ actions. As such, this Court

orders that:

        1.     The Gyroor Defendants and their officers, agents, servants, employees, attorneys,

and all persons who are in active concert or participation 3 with any of them who receive actual

notice of this Order, be preliminarily enjoined and restrained from:



3
 Plaintiffs have identified a number of Gyroor-associated Amazon storefronts that become active
for short periods of time before shutting down temporarily, seemingly for the purposes of evading


                                                  9
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               a.      offering for sale, selling, and importing any products not authorized by

Plaintiffs and that include any reproduction, copy or colorable imitation of the design claimed in

the Patents-in-Suit on any online website, social media pages, social media links, or online stores;

               b.      aiding, abetting, contributing to, or otherwise assisting anyone, in infringing

upon the Patents-in-Suit (this provision prohibits, inter alia, creating new or reactivating Amazon

Standard Identification Numbers (ASIN) on Amazon.com directed to products that infringe the

Patents-in-Suit or that are reproductions of, copies of, or colorably similar to the Patents-in-Suit);

and

               c.      effecting assignments or transfers, forming new entities or associations, or

utilizing any other device for the purpose of circumventing or otherwise avoiding the prohibitions

set forth in subparagraphs (a) and (b).

         2.    The Gyroor Defendants shall be restrained and enjoined from transferring or

disposing of any money or other assets until further ordered by this court, provided that the amount

of assets restrained or enjoined shall not exceed three times the amount of that Gyroor Defendant’s

sales—from September 1, 2015 to the present—of two-wheeled hoverboards and their accessories.

Third Party Payment Providers and Third Party Providers shall prevent any such transfers or

dispositions of assets within their custody or control.

         3.    Upon Plaintiffs’ request, those providing services to the Gyroor Defendants and/or

Exhibit A Storefronts 4 shall within five (5) days after receipt of such request:



intellectual property enforcement. See Dkt. 328. This Order applies to such “pop-up” storefronts,
due to their acting in active concert of participation with the Gyroor Defendants. See Dkt. 444
(order holding Gyroor Defendants in contempt based, in part, on such a finding). As such, those
acting in active concert or participation with the Gyroor Defendants includes but is not limited to
the entities listed in Exhibit A to this Order (“Exhibit A Storefronts”).
4
 Certain entities—including but not limited to PayPal, Inc. (“PayPal”), Amazon Pay, eBay,
Google Pay, and AliExpress.com—provide payment processing services. These are the “Third


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               a.      disable and cease providing services being used by the Gyroor Defendants

and/or Exhibit A Storefronts, currently or in the future, to engage in the sale of goods that infringe

the Patents-in-Suit;

               b.      disable and cease displaying any advertisements or listings used by or

associated with the Gyroor Defendants and/or Exhibit A Storefronts in connection with the sale of

infringing goods using the Patents-in-Suit;

               c.      take all steps necessary to prevent links to the Exhibit A Storefronts from

displaying in search results, including, but not limited to, removing links to such storefronts from

any search index;

               d.      as for Amazon.com, disabling, ceasing, and removing all of the ASINs that

are identified on Exhibit B;

               e.      as for Amazon.com, after confirming with an Amazon.com representative,

disabling, ceasing, and removing all ASINs that are related or affiliated with or a variant of those

identified on Exhibit B; and

               f.      as for Amazon.com, taking all steps necessary to prevent any new product

identifier (including ASINs) of infringing hoverboard products from being offered for sale by the

Gyroor Defendants and/or Exhibit A storefronts and from displaying in search results, including,

but not limited to, on the pages of such storefronts and from any search index.




Party Payment Providers.” Other entities providing any type of services to or in connection with
the Gyroor Defendants and/or Exhibit A Storefronts shall be referred to as “Third Party Providers.”
These include but are not limited to any online marketplace platforms (such as eBay, Amazon.com,
and Walmart), web hosts, sponsored search engine or ad-word providers, credit cards, banks,
merchant account providers, third-party processors and other payment processing service
providers, and Internet search engines such as Google, Bing, Facebook.com, and Yahoo. For the
avoidance of doubt, Amazon.com is a Third Party Provider and this Paragraph 3 therefore applies
to Amazon.com.


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        4.     For Gyroor.com and Gyroorboard.com, within three (3) days of this Order:

               a.      disabling, ceasing, and removing all of the infringing products that are

identified on Exhibit C;

               b.      taking all steps necessary to prevent any new infringing hoverboard

products from being offered for sale or sold on Gyroor.com and Gyroorboard.com; and

               c.      disabling and ceasing displaying any advertisements or listings used by or

associated with the infringing products identified on Exhibit C.

        5.     Upon Plaintiffs’ request, the Third Party Payment Providers and Third Party

Providers shall within thirty (30) days of such request, provide to Plaintiffs copies of all documents

and records in such entity’s possession or control relating to:

               a.      the aliases, merchant tokens, identities, seller IDs, and locations of each of

the Exhibit A Storefronts, their agents, servants, employees, confederates, attorneys, and any

persons suspected to be acting in concert or participation with them, including all known contact

information and all associated e-mail addresses;

               b.      the nature of each of the Exhibit A Storefronts’ operations and all associated

sales, methods of payment for services and financial information, including, without limitation,

identifying information associated with the Exhibit A Storefronts’ financial accounts;

               c.      a full accounting of each of the Exhibit A Storefronts’ sales and listing

histories;

               d.      any financial accounts owned or controlled by any of the Gyroor Defendants

and/or Exhibit A Storefronts, their agents, servants, employees, confederates, attorneys, and any

persons suspected to be acting in concert or participation with them, including such accounts

residing with or under the control of any banks, savings and loan associations, payment processors




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or other financial institutions including, without limitation, PayPal, Amazon Pay, Google Pay,

eBay and other merchant account providers, payment providers, third party processors, and credit

card association (e.g., MasterCard, VISA);

               e.      any other online marketplace accounts registered by any of the Gyroor

Defendants and/or Exhibit A Storefronts;

               f.      any inventory information or “fulfilled by Amazon” arrangements,

associated with any of the Gyroor Defendants and/or Exhibit A Storefronts; and

               g.      any product identifier (e.g., ASIN) associated with any products sold or

offered for sale by any of the Exhibit A Storefronts.

       6.      Plaintiffs have already deposited with the Court two hundred fifty thousand dollars

($250,000) (Dkt. 360) as security in conjunction with a preliminary injunction in this matter that

remains operative (Dkts. 113, 147).

DATED: October 13, 2021

                                                            _____________________________
                                                            Thomas M. Durkin
                                                            United States District Judge




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                                            Exhibit A 5

             No.             Amazon Merchant Name                      Amazon Merchant ID
              1              xiangxiang-us                      A35GA6R9D0UV0D
              2              yaohuisheng-us                     A17P73Q4CL7ADK
              3              shanchun-us                        A2NUD2WSEZ9ZT
              4              baiboyuan-us                       A3OBV1BHJSJBH1
              5              guangzhourunzhoumaoyiyouxiangongsi AMPT122SDFWCA
              6              kangjuxin-us                       A3FGA3GPJLAIIE
              7              zhonghongxin-us                    A25PYSLZ5XW50W
              8              honghaiya-us                       AIFII05V4L3I3
              9              junwei-us                          A19J9XVUEEK8QR
             10              yuwei-us                           A4MTNVPTGXZZH
             11              yutongcheng-us                     A1JCDB3MNAG9AX
             12              yanjin-us                          A17JZOCRNF1QD9
             13              minghuangsheng-us                  A1042U6O0WK9FR
             14              guirong-us                         A3C03X9QJLWAJO
             15              guanjiacheng-us                    A1BKW1NUP4TNYD
             16              zhipeng-us                         A14K5GI4JEB6O5
             17              rongjiamaoyi                       A2DA8CSKTCC66B
             18              JIANGYOU-US                        A2WDDE8MIQH0TE
             19              GYROOR US                          A57BIIPQ5F3FT
             20              Urbanmax                           A2YJ4WYC01L51J
             21              Gyroor, also operating
                             standalone websites as
                                                                AHGEGWXX7DCPQ
                             Gyroor.com and
                             gyroorboard.com.
             22              Gyroshoes                          A2ARNHQ8SVCIBQ
             23              Fengchi-US                         A11ZZ2BGHTDJWC
             24              HGSM                               A18SI7S9NCFNDA
             25              Gaodeshang-US                      AYN60ZNVZ6M1Q




5
 This is a list of identified Amazon storefronts that sell the Accused Products under the Gyroor
brand. This includes those directly identified with the named defendants in this litigation and pop-
up stores that appear to be acting in active concert and participation with the named defendants.


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                                          Exhibit B 6

                                          ASINs
                1                B07PHFP8GB
                2                B07C3C861F
                3                B07GFK49QR
                4                B07GFKZLD3
                5                B07PG8VYBK
                6                B08B4R7RTP
                7                B08R23QQT8
                8                B0779826VN
                9                B07S4KXRQR
               10                B08RYMXRWM
               11                B08NT551P4
               12                B08NSYZMHY
               13                B08VXGN6TR
               14                B08JFT7228
               15                B08NDZ5HMV
               16                B08NSHNKTN
               17                B08B3CDSJ8
               18                B08G87H165
               19                B08B3LBGFH
               20                B08B38H3QG
               21                B07TWZZY9C
               22                B08CS7VD1F
               23                B08CS6WQR8
               24                B083DVR9BK
               25                B08K3GKV4N




6
 This is a list of ASINs that are of have been associated with Accused Products offered for sale
by the storefronts in Exhibit A.


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                                         Exhibit C

Product              Current URI
Gyroorboard.com infringing hoverboard products

Gyroor T580 series https://gyroorboard.com/collections/gyroor-t580-hoverboard
and variants
Gyroor T581 series https://gyroorboard.com/collections/t581-off-road-all-terrain-
and variants         hoverboard
Gyroor G5 series     https://gyroorboard.com/collections/gyroor-g5-hoverboard
and variants
Gyroor G11 series    https://gyroorboard.com/collections/gyroor-g11-hoverboard
and variants
Gyroor.com infringing hoverboard products

Gyroor 6.5 inch      https://gyroor.com/collections/6-5inch-hoverboard
hoverboards




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